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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA
vs. : Criminal No. 07-613-02 (SDW)
TYSHUAN ST. VALLIER : DETENTION ORDER

IT IS ON TI-IIS 10th day of October, 2008

    
  

ORDERED that the previous cond' ' bail are revoked and that the defendant

 

,/`
is remanded. m 'J
/ /¢/F/Q\
/SU D. IGE§NTO .. \#' 'J

lte t es District ' Judge

